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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO


 BRYAN CARMODY,

                               Plaintiff,                     Docket No. 1:20-cv-1056

        - against -                                           JURY TRIAL DEMANDED


 MEDIANEWS GROUP, INC.

                                Defendant.


                                            COMPLAINT

       Plaintiff Bryan Carmody (“Carmody” or “Plaintiff”) by and through his undersigned

counsel, as and for his Complaint against Defendant MediaNews Group, Inc. (“MediaNews” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted video of a Sausalito mudslide, owned and registered by Carmody, a professional

photographer and videographer. Accordingly, Carmody seeks monetary relief under the

Copyright Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      Upon information and belief, this Court has personal jurisdiction over Defendant

because Defendant resides and/or transacts business in Colorado.
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       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Carmody is a professional photographer in the business of licensing his

photographs and videos to print and online media for a fee having a usual place of business at

459 Fulton Street, Suite 201, San Francisco, California 94102.

       6.      Upon information and belief, MediaNews is a domestic business corporation duly

organized and existing under the laws of the State of Delaware, with a place of business at 101

W. Colfax Avenue, Suite 110, Denver CO 80202. Upon information and belief, MediaNews is

registered with the Colorado State Department of Corporations to do business in Colorado. At all

times material hereto, MediaNews has operated its Twitter page at the URL:

www.Twitter.com/Mercnews (the “Website”).

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Video

       7.      Carmody took video of a Sausalito mudslide (the “Video”).

       8.      Carmody is the author of the Video and has at all times been the sole owner of all

right, title and interest in and to the Video, including the copyright thereto.

       9.      The Video was registered with United States Copyright Office and was given

Copyright Registration Number PPA 2-181-406.

       B.      Defendant’s Infringing Activities

       10.     MediaNews ran a screenshot of the Video on the Website. A screenshot of the

Video screenshot on the Website is attached hereto as Exhibit A.

       11.     MediaNews did not license the Video from Plaintiff for its Website, nor did

MediaNews have Plaintiff’s permission or consent to publish the Video on its Website.
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                                CLAIM FOR RELIEF
                     (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                                (17 U.S.C. §§ 106, 501)

          12.   Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.   MediaNews infringed Plaintiff’s copyright in the Video by reproducing and

publicly displaying the Video on the Website. MediaNews is not, and has never been, licensed or

otherwise authorized to reproduce, publically display, distribute and/or use the Video.

          14.   The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.   Upon information and belief, the foregoing acts of infringement by MediaNews

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.   As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

          17.   Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

          18.   Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment as follows:
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       1.     That Defendant MediaNews be adjudged to have infringed upon Plaintiff’s

              copyrights in the Video in violation of 17 U.S.C §§ 106 and 501;

       2.     That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

              profits, gains or advantages of any kind attributable to Defendant’s infringement

              of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

              per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.     That Defendant be required to account for all profits, income, receipts, or other

              benefits derived by Defendant as a result of its unlawful conduct;

       4.     That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

              U.S.C. § 505;

       5.     That Plaintiff be awarded pre-judgment interest; and

       6.     Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
       April 14, 2020
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